468 F.2d 917
    Sally S. SHEPARD et al., Plaintiffs-Appellees,v.Jerome KLINE et al., Defendants.Sam Polur, Respondent-Appellant.
    No. 116, Docket 72-1447.
    United States Court of Appeals,Second Circuit.
    Argued Nov. 1, 1972.Decided Nov. 6, 1972.
    
      Sally S. Shepard, pro se.
      Malpakkam D. Kasy, pro se.
      Rose Marie Kasy, pro se.
      Sam Polur, New York City, pro se.
      Before LUMBARD, FEINBERG and OAKES, Circuit Judges.
      PER CURIAM:
    
    
      1
      Sam Polur, formerly attorney for the plaintiffs herein, appeals from part of an order of the Southern District, entered April 7, 1972, which granted plaintiffs' motion to discharge Polur as their counsel and permitted them to appear pro se.  Polur requested that Judge Motley first determine his quantum meruit legal fee before granting the motion and requiring him to turn over certain papers relating to the case.  Judge Motley denied the request, and it is from this aspect of her order that Polur appeals.  However, it appears that Polur has since delivered to the plaintiffs all of the papers in question in this matter.  Thus, this appeal has become moot.
    
    
      2
      However, as the exacerbated relations between the attorney and his former clients indicate that this may not be the end of their differences, we think it appropriate to say that on this record any services Mr. Polur may have rendered are certainly worth no more than the $1,250.00 he concedes receiving as counsel fees from the plaintiffs.
    
    